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                                             CIVIL MINUTE ENTRY


BEFORE:                              Magistrate Judge Steven L. Tiscione


DATE:                                December 18, 2019


TIME:                                11:30 A.M.


DOCKET NUMBER(S):                    CV-12-2137 (KAM)


NAME OF CASE(S):                     SANTIAGO V. CUOMO ET AL.



FOR PLAINTIFF(S):                    Santiago & Greenberg



FOR DEFENDANT(S):                    Keene



NEXT CONFERENCE(S):                  FEBRUARY 20, 2020 AT 12:00 P.M., IN-PERSON



FTR/COURT REPORTER:                  11:50 - 12:09

RULINGS FROM MOTION HEARING:

For the reasons discussed on the record, counsel's Motion to Withdraw [131] is granted. Mr. Greenberg is terminated as
attorney of record. The Court will provide Mr. Santiago 60 days to retain a new attorney. The Court will hold a status
conference on February 20, 2020 at 12:00 p.m. If Plaintiff has not retained new counsel by that date, he must appear at the
conference in person.
